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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                                                §
v.                                              §           No. 3:12-CR-392-O
                                                §
JOHNNY ANGEL GAMEZ (02)                         §
                                                §


                              ORDER ACCEPTING
                FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

       After making an independent review of the pleadings, files and records in this case, and the

Findings, Conclusions, and Recommendation of the United States Magistrate Judge dated August 16,

2013, the Court finds that the Findings, Conclusions, and Recommendation of the Magistrate Judge

are correct and they are accepted as the Findings, Conclusions, and Recommendation of the Court.

       It is, therefore, ORDERED that the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge are accepted. Petitioner Rosalio Gamez ’s motion asserting a legal

interest in the 2006 Dodge Charger (the “Charger”), VIN 2B3KA43R36H478958, that is the subject

of a Preliminary Order of Forfeiture signed by the District Court on May 6, 2013, is DENIED.

       Dated on this 13th day of September, 2013.




                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE
